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15
                           UNITED STATES DISTRICT COURT
16                        CENTRAL DISTRICT OF CALIFORNIA
17
      JORGE RAMIREZ,                             )   Civil No. 2:17-cv-01300-AB-AGR
18
                                                 )
19                       Plaintiff,              )
20            vs.                                )   STIPULATION TO DISMISS
                                                 )   PLAINTIFF’S CLAIMS WITHOUT
21
      CITY FIBERS, INC.                          )   PREJUDICE
22                                               )
23                       Defendant.              )   [FRCP 41(a)(1)]
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                                                 )
                                                 )
25                                               )
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            STIPULATION TO DISMISS PLAINTIFF’S CLAIMS WITHOUT PREJUDICE
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 1        WHEREAS, on October 14, 2016, as required by the CWA, 33 U.S.C. §
 2 1365(b)(1)(A), Plaintiff provided notice of intent to file suit against Defendant for

 3 CWA violations (“Notice Letter”) to the Administrator of the United States

 4 Environmental Protection Agency (“EPA”); the Regional Administrator of EPA

 5 Region IX; the Executive Director of the State Water Resources Control Board (“State

 6 Board”); the Executive Officer of the Regional Water Quality Control Board, Los

 7 Angeles Region (“Regional Board”) collectively, “state and federal agencies”) and

 8 Defendant;
 9        WHEREAS, on February 17, 2017, Plaintiff filed his Complaint against
10 Defendant in this Court (the “Ramirez Action”);

11        WHEREAS, on August 10, 2017, Los Angeles Waterkeeper filed a related action
12 against Defendant, styled Los Angeles Waterkeeper v. City Fibers, Inc., 2:17-cv-05960-

13 AB-AGR. The Los Angeles Waterkeeper Action addresses multiple facilities owned

14 by City Fibers, Inc., including the facility at issue in the Ramirez Action;

15        WHEREAS, on August 12, 2017, Defendant City Fibers, Inc. filed its Answer
16 in the Ramirez Action;

17        WHEREAS, Plaintiff Ramirez has determined that rather than have two actions
18 proceed that address similar issues involving the same facility, that it is more efficient

19 to have the Los Angeles Waterkeeper Action proceed and for Plaintiff to dismiss the

20 Ramirez Action without prejudice on the terms set forth herein;

21        NOW THEREFORE, IT IS HEREBY STIPULATED and agreed to by and
22 between the parties that Ramirez’s claims, as set forth in the Notice Letter and

23 Complaint, be dismissed without prejudice. The dismissal will be effective upon the

24 filing of this Stipulation. Further, Plaintiff Ramirez and Defendant City Fibers, Inc.

25 agree that each side will bear its own costs and attorneys’ fees and no claim will be

26 made by either party, or their counsel, for any costs or attorneys’ fees. The parties

27 further agree that given the similar nature of the allegations in the Ramirez Action and

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            STIPULATION TO DISMISS PLAINTIFF’S CLAIMS WITHOUT PREJUDICE
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 1 the Los Angeles Waterkeeper Action with respect to the City Fibers’ Facility located at

 2 3033 East Washington Blvd., Los Angeles, CA 90023, that upon notice by Defendant

 3 City Fibers, Inc. of the conclusion of the Los Angeles Waterkeeper Action by any

 4 means, including without limitation, the court’s entry of a consent decree, Plaintiff

 5 Ramirez will convert this Dismissal Without Prejudice to a Dismissal With Prejudice.

 6 Plaintiff Ramirez shall file the Dismissal with Prejudice within ten calendar days of

 7 receiving notice of the conclusion of the Los Angeles Waterkeeper Action.

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 9
                                          Respectfully Submitted,
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11 Dated: August 30, 2018                 BRODSKY & SMITH, LLC

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                                          Attorneys for Plaintiff
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21 Dated: August 30, 2018                 CASTELLON& FUNDERBURK LLP

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 2                                    Attorneys for Defendant City Fibers, Inc.
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           STIPULATION TO DISMISS PLAINTIFF’S CLAIMS WITHOUT PREJUDICE
